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                          10   Attorneys for Defendants
                               Soshin Electric Co., Ltd. and
                          11   Soshin Electronics of America Inc.
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                          12                                UNITED STATES DISTRICT COURT
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                          13                            NORTHERN DISTRICT OF CALIFORNIA
                          14
                                                                SAN FRANCISCO DIVISION
                          15
                                In RE CAPACITORS ANTITRUST                        Case No. 17-md-2801
                          16    LITIGATION,
                                                                                  Hon. James Donato
                          17    This Document Relates to:
                                                                                  STIPULATION REGARDING
                          18                                                      EXTENSION OF TIME FOR
                                       Avnet, Inc. v. Hitachi Chem. Co., Ltd.
                                       et al., No. 17-cv-7046-JD                  DEFENDANT SOSHIN TO RESPOND TO
                          19                                                      COMPLAINTS OF AVNET AND
                                       and
                          20           Benchmark Elecs., Inc., et al. v. AVX      BENCHMARK PLAINTIFFS
                                       Corp. et al., No. 3:17-cv-07047-JD
                          21

                          22          Undersigned counsel for Plaintiff Avnet, Inc. (“Avnet”), the Benchmark Electronics
                          23   Plaintiffs (“Benchmark”), and Defendants Soshin Electric Co., Ltd. and Soshin Electronics of
                          24   America, Inc. (collectively “Soshin”) hereby stipulate as follows:
                          25          WHEREAS, Avnet filed its Amended Complaint on December 21, 2017, in the District of
                          26   Arizona, and named Soshin among the Defendants; and Benchmark filed its Complaint on June 28,
                          27   2017, in the District of Arizona, and named Soshin among the Defendants;
                          28          WHEREAS, in anticipation of the consolidation and transfer of cases by the Judicial Panel

                                                                                              CASE NO. 17-MD-2801
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                           1   on Multidistrict Litigation, the parties previously stipulated to extend the deadlines for responding
                           2   to the complaints in the Arizona cases, with the Arizona Court granting a stipulation setting
                           3   February 5, 2008 as the deadline for responding to Benchmark’s Complaint [Case 2:17-cv-02058-
                           4   DJH, Dkt. No. 15] and this Court granting a stipulation setting February 5, 2018 as the deadline
                           5   for responding to Avnet’s Amended Complaint [Master Dkt. No. 1995];
                           6          WHEREAS, the undersigned counsel are engaged in discussions that may affect Soshin’s
                           7   responses to the Avnet and Benchmark Complaints, these discussions cannot reasonably be
                           8   completed prior the current February 5 deadline for Soshin to respond to the Complaints, and the
                           9   undersigned counsel expect efficiencies for the Court and the Parties may be achieved by
                          10   allowing counsel time to complete their discussions prior to Soshin responding to the Complaints;
                          11          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the
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                          12   undersigned counsel, on behalf of their respective clients, Avnet and Benchmark on the one hand,
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                          13   and Soshin on the other hand, as follows:
                          14          The deadline for Soshin to respond to Avnet’s Amended Complaint and Benchmark’s
                          15          Complaint shall be extended by 45 days, until March 22, 2018.
                          16

                          17   DATED: February 2, 2018
                          18    /s/Robert W. Turken                                  s/C. Dennis Loomis
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                               AND                                           AND
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                                                                             Counsel for Defendants, Soshin Electric Co.,
                           7   Counsel for Avnet, Inc. and Benchmark         Ltd. and Soshin Electronics of America, Inc.
                               Electronics Plaintiffs
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